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         EXHIBIT 20
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                     Subject: Fwd: Latest SI Forecast Assumptions and P&L
                       From: Tim Cook <                      >
                Received(Date): Sat, 17 Nov 2018 14:22:24 -0700
                          Cc: Jeff Williams <                    >, Luca Maestri
                                <                   >,                ,                           ,
                                                  ,Andy Allen <                      >
                          To: Kevan Parekh <                    >
                 Attachment: Messages Image(3884319372).jpeg
                 Attachment: PastedGraphic-17.pdf
                        Date: Sat, 17 Nov 2018 14:22:24 -0700

               Thanks.

               I spent some additional time this morning going through the P&L we discussed last night
               along with today’s reports and have a few additional questions and comments:

               1) The “current” revenue forecast for accessories ex watch didn’t change from last week
               despite adding iPhone cases as well as the Smart Keyboards and Pencils this week.
               Additional there is only a very small ($16M) upside potential in the more aggressive
               case.

               2) The “current” revenue forecast for the Watch increased by only $50M on over 200K
               units—-an ASP of $239. I thought we added a mix of S/4 and S/3. If so, this is a very
               low ASP. Additionally, there is no upside potential in the more aggressive case.

               3) The Mac “current” revenue forecast is down $263M and units are down 145K from
               last week—-and ASP of $1841. This seem very high for a blend of MacBook Airs and
               MBP 13” with TB.

               4) The iPad “current” revenue forecast is up $229M on 433K units—-an ASP of $529.
               This seems more reasonable but we should look at this to make sure we are optimizing
               constrained supply mix and we should also confirm the revenue forecast in the more
               aggressive case is correct. It doesn’t appear to be in sync with the opportunities we
               discussed. Of course, the largest opportunity is in iPhone provided we can get even a
               small lift from some or all of the action that are underway. I noticed the US did lift with
               the beginning of the BOGO campaigns yesterday and marketing actions should kick in
               soon. I also hope we see an uptick in Japan given the work there.

               In reviewing the un-brick report, I noticed our QTD YoY reduction in the top end of the
               line (X, XS, XS Max, and R compared to X, 8, 8 Plus) is 1.8M units and is entirely split
               between US (1.2M) and Japan (.6). Online represents about 40% of the US reduction
               which I assume largely represents iPhone X pre-orders taken in the year ago quarter. If
               true, this drag shouldn’t continue after we exit the specific window. Of course some
               level of pre-orders also occurred in the carriers last year for iPhone X and my




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               recollection is that the US and Japanese carriers are generally the best at pre-orders
               although neither is great. I suspect the lack of carrier pre-orders in Q1 this year explains
               some of the remainder of the reduction and along with the regulatory change in Japan
               explain the vast majority of the current delta.

               The future run rates for the top are much more important. On a trailing 7 day basis, we
               are un-bricking 2.94 per week although yesterday hopefully suggests this will improve.

               I could use a few things to help me monitor our progress:

               -A simple two line graph showing the “top” by week (actual and forecast) compared to
               last year. I’ve been doing this manually. -A simple chart showing the YoY weekly
               absolute CHANGE in the top for the top 10 countries (counting GC as one country)
               along with the percentage change.

               -A chart showing constrained supply opportunity by week for the remainder of the
               quarter along with the dollarization. We need $500M.

               -A chart showing the current Amazon contribution to the revenue forecast, the
               opportunity and the current difference. This should be updated weekly. -A week over
               week revenue forecast bridge for the product categories.

               -An updated P&L showing any changes resulting from the questions at the top or the
               fine tuning process we discussed last night.

               Kevin, I’d also like to continue to receive the customer data.

               I think much of this info already exists. To the degree it does, please send. If it doesn’t,
               I’m not asking anyone to do this during the break.

               I hope everyone has a fantastic break.

               Tim

               Sent from my iPad Pro

               Begin forwarded message:

               > From: Kevan Parekh <                      >
               > Date: November 16, 2018 at 6:14:10 PM PST
               > To: Tim Cook <                    >
               > Cc: Jeff Williams <                   >, Luca Maestri <                         >, Saori
               Casey <                     >, Donal Conroy <                               >, Ed Tharp
               <                    >, Andy Allen <                     >
               > Subject: Latest SI Forecast Assumptions and P&L
               >
               > Hi Tim,




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               >
               > As we just discussed, we wanted to send a revised SI range that better reflects some
               of the approved actions and converges to a more common set of assumptions.
               Accordingly, our new range with details below for SI is 66.9M (new likely) - 68.3M (more
               aggressive case) - this compares to the 66.1M P&L - 67.3M Sales High you saw earlier.
               We’ve provided a sell-in bridge and P&L summary below.
               >
               > Saori, Donal and Kevan
               >
               > The key adjustments we made are as follows:
               >
               > Starting from the Prior Sales High Case:
               >
               > 67.3M
               > + 0.3M iPhone X (US cracked screen deal)
               > + 0.4M Japan (XR Docomo / KDDI DG proposal)
               > + 0.3M China (Additional ~2 weeks of XR sell-in to get to approximately 6 weeks of
               supply)
               > 68.3M (More Aggressive Case); As discussed this does not include any run-rate
               impact that could deviate from the normal curve assumptions due to marketing and other
               actions (we’ll continue to monitor for that)
               >
               > Then for the likely case, we de-risked for the following:
               >
               > 68.3M
               > - 0.3M iPhone X US (as deal has not been negotiated with partners) > - 0.8M iPhone
               6s (Lower confidence deals: US tax season pull-ahead, W. Europe 1st half MOQ pull
               ahead and ANZ aggressive pricing)
               > - 0.3M iPhone 6s+ / 7+ (Aggressive pricing in GC)
               > 66.9M
               >
               > Below is the SI summary Chart:
               >
               >
               > Here are the updated set of P&L scenarios:
               >
               > Column N: More Aggressive Case
               > - 68.3M iPhone
               > - EOH +6.2M
               >
               > Column J: Current Likely
               > - 66.9M iPhone
               > - EOH +5.0M
               >
               > With respect to the EOH, please keep in mind that this includes Germany mitigation
               (0.5M) and iPhone X last-time buys (1.2M - 1.5M)
               >




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               >
               >
               >
               >
               > � Kevan Parekh | Apple Inc. | office:                                | iPhone:
                    |
               >




               Thanks.

               I spent some additional time this morning going through the P&L we discussed last night along
               with today’s reports and have a few additional questions and comments:

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               adding iPhone cases as well as the Smart Keyboards and Pencils this week. Additional there is
               only a very small ($16M) upside potential in the more aggressive case.

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               XS, XS Max, and R compared to X, 8, 8 Plus) is 1.8M units and is entirely split between US
               (1.2M) and Japan (.6). Online represents about 40% of the US reduction which I assume largely
               represents iPhone X pre-orders taken in the year ago quarter. If true, this drag shouldn’t continue
               after we exit the specific window. Of course some level of pre-orders also occurred in the
               carriers last year for iPhone X and my recollection is that the US and Japanese carriers are
               generally the best at pre-orders although neither is great. I suspect the lack of carrier pre-orders
               in Q1 this year explains some of the remainder of the reduction and along with the regulatory
               change in Japan explain the vast majority of the current delta.




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               The future run rates for the top are much more important. On a trailing 7 day basis, we are un-
               bricking 2.94 per week although yesterday hopefully suggests this will improve.

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               -A simple two line graph showing the “top” by week (actual and forecast) compared to last year.
                I’ve been doing this manually.

               -A simple chart showing the YoY weekly absolute CHANGE in the top for the top 10 countries
               (counting GC as one country) along with the percentage change.

               -A chart showing constrained supply opportunity by week for the remainder of the quarter along
               with the dollarization. We need $500M.

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               the current difference. This should be updated weekly.

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               Tim

               Sent from my iPad Pro

               Begin forwarded message:

               From: Kevan Parekh <                         >

               Date: November 16, 2018 at 6:14:10 PM PST

               To: Tim Cook <                      >

               Cc: Jeff Williams <                   >, Luca Maestri <                           >, Saori Casey
               <                   >, Donal Conroy <                               >, Ed Tharp
               <                   >, Andy Allen <                    >

               Subject: Latest SI Forecast Assumptions and P&L




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               Hi Tim,

               As we just discussed, we wanted to send a revised SI range that better reflects some of the
               approved actions and converges to a more common set of assumptions. Accordingly, our new
               range with details below for SI is 66.9M (new likely) - 68.3M (more aggressive case) - this
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               and P&L summary below.

               Saori, Donal and Kevan

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               67.3M

               + 0.3M iPhone X (US cracked screen deal)

               + 0.4M Japan (XR Docomo / KDDI DG proposal)

               + 0.3M China (Additional ~2 weeks of XR sell-in to get to approximately 6 weeks of supply)

                68.3M (More Aggressive Case); As discussed this does not include any run-rate impact that
               could deviate from the normal curve assumptions due to marketing and other actions (we’ll
               continue to monitor for that)

               Then for the likely case, we de-risked for the following:

               68.3M

               - 0.3M iPhone X US (as deal has not been negotiated with partners)

               - 0.8M iPhone 6s (Lower confidence deals: US tax season pull-ahead, W. Europe 1st half MOQ
               pull ahead and ANZ aggressive pricing)

               - 0.3M iPhone 6s+ / 7+ (Aggressive pricing in GC)

               66.9M

               Below is the SI summary Chart:


               Here are the updated set of P&L scenarios:

               Column N: More Aggressive Case




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               - 68.3M iPhone

               - EOH +6.2M

               Column J: Current Likely

               - 66.9M iPhone

               - EOH +5.0M

               With respect to the EOH, please keep in mind that this includes Germany mitigation (0.5M) and
               iPhone X last-time buys (1.2M - 1.5M)



               � Kevan Parekh | Apple Inc. | office:       | iPhone:             |




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